Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 1 of 9




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                                           CASE NO.
 MARYANN FIORENTINO, individually, and
 on behalf of all others similarly situated,

          Plaintiff,
 v.

  FINANCIAL RECOVERY SERVICES, INC.,

          Defendant.



                                 CLASS ACTION COMPLAINT

        Class Plaintiff, MARYANN FIORENTINO (hereinafter "Plaintiff') individually, and on

 behalf of all those similarly situated, by and through his undersigned counsel, alleges violation(s)

 of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter "FDCPA") against

 Defendant, Financial Recovery Services, Inc. (hereinafter "Defendant FRS").

                                        INTRODUCTION

                 This Class Action arises from Defendant's unlawful scheme to collect debts in

 violation of the Fair Debt Collection Practices Act pursuant to 15 U.S.C. § 1692 et seq., which

 prohibits debt collectors from engaging in abusive, unfair, and deceptive practices.

                 The FDCPA prohibits collectors of consumer debts from, among other things, using

 "any false, deceptive, or misleading representation or means in connection with the collection of

 any debt."'

                 A debt collector's collection communication is deceptive or misleading if, when



  15 U.S.C. § 1692(e).
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 2 of 9



attempting to collect a time-barred debt, the debt collector does not inform the consumer that, if

the consumer makes or even just agrees to make, a partial payment on the debt, it could restart the

clock on a long-expired statute of limitations, in effect bringing a long-dead debt back to life.2

                  Defendant FRS has a pattern and practice of attempting to collect consumer debts,

which the collector can no longer sue for because of statute of limitations, without notifying the

 consumer that should they accept one of the offered settlement options it will restart the statute of

 limitations and substantially affect the consumer's rights. In fact, Defendant FRS's collection

 letters falsely state that the payment options will not affect the consumer's rights.

                  Therefore, Plaintiff brings this suit on behalf of herself and all similarly situated

 persons who received correspondence from Defendant FRS, which attempted to collect a debt and

 seeks statutory damages, compensatory damages, attorneys' fees and costs, and all other such other

 and further relief that this court deems just and proper.

                               PARTIES, JURISDICTION AND VENUE

                  Plaintiff, Maryann Fiorentino ("Plaintiff') is a resident of Broward County, Florida,

 is over the age of eighteen (18) years, and is otherwise sui juris.

                  Plaintiff is a consumer as defined by § 15 U.S.C. §1692a(3), who incurred the

 below-described debt for personal, family or household services.

                  Defendant FRS is a corporation with its principal place of business in Minnesota;

 Defendant FRS' business is the regular collection of debts using the mail and/or telephone, which

 it regularly does in Broward County, Florida.

                  Defendant FRS is a debt collector as defined by 15 U.S.C. §1692a(6).




  Pantoja v. Portfolio Recovery Assocs., LLC, 78 F. Supp. 3d 743 (ND. III. 2015) affirmed in Pantoja v. Portfolio
 Recovery Associates, LLC, Case No. 15-1567, 7th Cr. 2017.



 [1606568/1]                                             2
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 3 of 9



          10.       Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §§ 1331,

1337, 1367(a), 2201, 2202.

                    Venue is proper in this District under 28 U.S.C. § 1391 because: (i) the conduct

from which this cause of action arises occurred in this District; and (ii) Defendant transacts

business in this District.

                     At all times herein, the conduct of Defendant, complained of below, occurred in

Broward County, Florida.

                                        GENERAL ALLEGATIONS

                     On or about February 23, 2017, Plaintiff received communication from Defendant

 FRS seeking to collect a debt purportedly owed by Plaintiff A true and correct copy of the "Letter"

 is attached hereto as Exhibit "A."

                     According to Defendant FRS's Letter, the amount of the debt was Four Hundred

 and Eighty-Eight Dollars and Twenty-Two Cents ($488.22), which was owed to Cavalry SPV I,

 LLC.

                     Defendant FRS' Letter stated, inter alia:

               The law limits how long you can be sued on a debt. Because of the age of your
               debt, our client is not able to site you for it. In many circumstances, you can
               renew the debt and start the time period for the filing of a lawsuit against you if
               you take specific actions such as making certain payment on the debt or making
               a written promise to pay. You should determine the effect of any actions you
               take with respect to this debt. We would like to work with you to resolve your
               account balance.

               The account listed above has been assigned to this agency for collection. Unless
               you notify this office within 30 days after receiving this notice that you dispute
               the validity of this debtor any portion thereof, this office will assume this debt
               is valid If you notify this office in writing within 30 days after receiving this
               notice that you dispute the validity of this debt or any portion thereof, this office
               will obtain verification of the debt or obtain a copy of a judgment and mail you



 [1606568/1]                                            3
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 4 of 9




           a copy of such judgment or verification. If you request this office in writing
           within 30 days after receiving this notice this office will provide you the name
           and address of the original creditor, if different from the current creditor. The
           account settlement opportunities listed below do not affect your rizhts
           described above.

           As of the date of this notice you owe Four Hundred Eighty-Eight Dollars and
           Twenty-Two Cents ($488.22) and we are authorized to offer you the following
           options:

               ( ) Our office will allow you to settle your account for 55.00% of the above
               referenced balance for a total 1 time lump sum payment of $268.52. We request
               this payment within 35 days after receipt of this Letter. If you need additional
               time to respond to this offer, please contact us. Upon receipt and clearance of
               the payment of 8268152, this account will be considered settled in full for less
               than the full balance and you will be released of all liability to the creditor
               relative to the above listed account. We are not obligated to renew this offer. ;
               or
               ( ) Our office will allow you to settle your account for 62.50% of the above
               referenced balance for a total payment of $305.13. You can pay this in 3
               payments and we request the first payment within 35 days after receipt of this
               Letter and the payments can be no more than 30 days apart. If you need
               additional time to respond to this offer, please contact us. Upon receipt and
               clearance of these three payments of $101.71. this account will be considered
               settled in full for less than the full balance and you will be released of all liability
               to the creditor relative to the above listed account. We are not obligated to renew
               this offer. ; or
               ( ) Our office will allow you to settle your account for 70% of the above
               referenced balance for a total payment of $341.76. You can pay this in 6
               payments and we request the first payment within 35 days after receipt of this
               Letter and the payments can be no more than 30 days apart. If you need
               additional time to respond to this offer, please contact us. Upon receipt and
               clearance of these six payments of $56.96, this account will be considered settled
               in full for less than the full balance and you will be released of all liability to the
               creditor relative to the above listed account. We are not obligated to renew this
               offer.
          16.         In other words, Defendant FRS' Letter informed Plaintiff that (1) she could not be

 sued for the debt, (2) that making a payment could allow her to be sued, but that (3) the settlement

 offers in the Letter would not affect her rights.



 [1606568/1]
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 5 of 9




          17.   Defendant FRS's representation that the settlement offers would not affect

Plaintiff's rights were patently and legally false.

                In actuality, had Plaintiff agreed to any of the settlement options in Defendant FRS'

Letter, her statute of limitation rights as described previously in Defendant FRS' Letter would have

been abolished and the statute of limitations would have been revived allowing Defendant FRS'

or the original creditor to sue Plaintiff

                                CLASS ACTION ALLEGATIONS

                This is a class action on behalf of ordinary people. The purpose of this action and

the underlying law is not to say that consumers should not be held accountable for their debts, but

rather, the purpose of this action is to hold Defendant accountable for its willful ignorance of the

laws that place constraints on how Defendant may seek accountability.

                As such, Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23(b)(2) and Rule 23(b)(3) on behalf of herself and the Classes of similarly situated individuals

defined as follows:

                FDCPA CLASS: All consumers in the United States to whom
                Defendant mailed one or more Letters in the same or similar
                form to the Letter sent to Plaintiff, attempting to collect a
                personal, family, or household debt, within one year of the filing
                of this action.

                Class Exclusions: The following people are excluded from the Classes: I) any

 Judge or Magistrate presiding over this action and members of their families; 2) Defendant,

 Defendant's subsidiaries, parents, successors, predecessors, and any entity in which the Defendant

 or its parents have a controlling interest and its current or former employees, officers and directors;

 3) persons who properly execute and file a timely request for exclusion from the Classes; 4) the




 11606568/1]                                          5
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 6 of 9




legal representatives, successors, or assigns of any such excluded persons; 5) Plaintiff's counsel

and Defendant's counsel.

                Numerosity: The exact number of the Class members is unknown and not available

to Plaintiff at this time, but it is clear that individual joinder is impracticable. Based on information

and understanding, Defendant has sent collection Letters to thousands of consumers who fall into

the definition of the Class. Members of the Classes can be identified, and Class membership

ascertained, objectively through Defendant's records.

                Typicality: Plaintiff's claims are typical of the claims of other members of the

Classes in that, Plaintiff and the members of the Classes sustained damages arising out of

Defendant's uniform wrongful conduct and improper collection Letters.

                Adequacy Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in complex

class actions. Plaintiff has no interest antagonistic to those of the Classes, and

Defendant has no defenses unique to Plaintiff

                Commonality and Predominance: There are numerous questions of law and fact

 common to the claims of Plaintiff and the Classes, and those questions go to the heart of the case

 and predominate over any questions that may affect individual members of the Classes. Common               fr



 questions for the Classes include, but are not necessarily limited to the following:

                    whether Defendant FRS is a "debt collector" under 15 U.S.C.§ 1692a(6);

                    whether the Notice that Defendant FRS sent to the Plaintiff and the Class is a

                    "communication" under 15 U.S.C. § 1692a(2);

                    whether Defendant FRS failed to comply with 15 U.S.C. 1692(e); and

                    whether Defendant FRS's Notice violates FDCPA.




 [I606568/]]                                        6
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 7 of 9




                   Superiority & Manageability: This case is also appropriate for Class certification

because Class proceedings are superior to all other available methods for the fair and efficient

adjudication of this controversy because joinder of all parties is impracticable. The damages

suffered by the individual members of the Class will likely be relatively small, especially given

the burden and expense of individual prosecution of the complex litigation necessitated by

Defendant's actions. Thus, it would be virtually impossible for the individual members of the

Classes to obtain effective relief from Defendant's misconduct. Even if members of the Classes

could sustain such individual litigation, it would still not be preferable to a Class action, because

individual litigation would increase the delay and expense to all parties due to the complex legal

and factual controversies presented in this Complaint. By contrast, a Class action presents far fewer

management difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single court. Economies of time, effort and expense will be

fostered and uniformity of decisions ensured.

                                          COUNT I
                    VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                        15 U.S.C. 1692(0

         Plaintiff reaffirms and realleges the allegations in paragraphs 1 through 26 as if set forth

 herein in full.

                   Defendant is a "debt collector" as defined by 15 U.S.C. §1692a(6).

                   Plaintiff and the Class are "consumers" as defined by § 15 U.S.C. §1692a(3).

                   The communication that Defendant sent to Plaintiff and Class is a "communication"

 as defined by 15 U.S.C. § 1692a(2).

                   Defendant FRS asserted that Plaintiff's acceptance of the settlement offers in the

 Letter did not affect Plaintiff's rights—namely, Plaintiffs rights under the statute of limitations,




 0606568/1J                                         7
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 8 of 9



which protected her from a lawsuit for the debt.

                  Defendant FRS knew that Plaintiffs acceptance of one of the settlement options

would restart the statute of limitations thereby allowing Defendant FRS or other to sue Plaintiff

for her debt.

                  Defendant FRS' actions were overtly deceptive and misleading.

                  Defendant intentionally, knowingly and repeatedly violated the FDCPA.

                  Defendant has deprived Plaintiff and the Class from the statutory right to receive

accurate information concerning the alleged debt.

                  As a result of its violations of the FDCPA, Defendant FRS is liable to Plaintiff and

the Class for statutory damages, actual damages, costs and attorney's fees.

          WHEREFORE, Plaintiff seeks, individually and on behalf of the Class:

                      certifying this action as a class action as set forth herein and designating

                      Plaintiff as the Class Representative, and the undersigned as Class Counsel;

                      declaratory judgment stating that Defendant's conduct violates the FDCPA;

                      declaratory and injunctive relief preventing Defendant from sending violative

                      Notices to consumers in the future;

                      statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(B);

                      costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 1692k(a)(3); and

                  (0 such other relief the Court deems just and proper.

                               CLASS WIDE PRAYER FOR RELIEF

 WHEREFORE, Plaintiff, on his own behalf and on behalf of the Class, prays for Judgment:

               directing Defendant to cease its violations of the FDCPA;

               awarding Plaintiff and the Class statutory damages as requested above;




 [1606568/1]                                        8
Case 0:17-cv-60801-BB Document 1 Entered on FLSD Docket 04/24/2017 Page 9 of 9




               awarding Plaintiff and the Class actual damages as requested above;

               awarding Plaintiff and Class attorneys' fees, costs and expenses incurred in this action;

               a preliminary and permanent injunction enjoining Defendant from future violations of

               the FDCPA; and

               such other relief this Court deems just and proper.

                                     DEMAND FOR JURY TRIAL

                   Plaintiff hereby demands a trial by jury of all issues so triable.

Dated this 24th day of April, 2017.

                                                          Respectfully Submitted,

                                                          ZEBERSKY PAYNE, LLP
                                                          Counsel for Plaintiff
                                                          110 S.E. 6t h Street, Suite 2150
                                                          Ft. Lauderdale, Florida 33301
                                                          Telephone: (954) 989-6333
                                                          Facsimile: (954) 989-7781
                                                          Primary Email:                   11 com
                                                          Secondary ail: nmerez@zully.com


                                                           By
                                                                                SHAW, ESQ.
                                                                            ar No. 111771

                                                           and

                                                           Darren R. Newhart, Esq.
                                                           Florida Bar No.:115546
                                                           E-mail:Darren@cloorg.com
                                                           J. Dennis Card Jr., Esq
                                                           Florida Bar No.: 0487473
                                                           E-mail:DCard@Consumerlaworg.com
                                                           Consumer Law Organization, P.A.
                                                           721 US Highway 1, Suite 201
                                                           North Palm Beach, Florida 33408
                                                           Telephone: (561) 692-6013
                                                           Facsimile: (305) 574-0132




 [1606568/1]                                          9
